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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


BRITTANY BUTLER,                             Case No.:

               PLAINTIFF,

      vs.                                    COMPLAINT

ACCOUNT RESOLUTION SERVICES,
LLC,                                         JURY TRIAL DEMAND

               DEFENDANTS.




      NOW COMES THE PLAINTIFF, BRITTANY BUTLER, BY AND

THROUGH COUNSEL, MICHAEL B. HALLA, and for her Complaint against

the Defendant, pleads as follows:

                                JURISDICTION

   1. This court has jurisdiction under the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.


                                     VENUE

   2. The transactions and occurrences which give rise to this action occurred in

      the City of Houston, Harris County, Texas.

   3. Venue is proper in the Southern District of Texas, Houston Division.
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                                  PARTIES

4. Plaintiff is a natural person residing in the City of Houston, Harris County,

   Texas.

5. The Defendant to this lawsuit is Account Resolution Services, LLC, which is

   a foreign limited liability company that conducts business in the State of

   Texas.

                       GENERAL ALLEGATIONS

6. Defendant is attempting to collect a consumer type debt allegedly owed by

   Plaintiff to a third party in the amount of $85.00 (the “alleged Debt”).

7. Plaintiff disputes the alleged Debt.

8. On April 29, 2021, Plaintiff obtained her Equifax credit disclosure and

   noticed Defendant reporting the alleged Debt as a collection item.

9. On or about June 11, 2021, Plaintiff sent Defendant a letter disputing the

   collection item.

10. On August 13, 2021, Plaintiff obtained her Equifax credit disclosure, which

   showed Defendant last reported the collection item reflected by the Equifax

   on July 31, 2021 and failed or refused to flag them as disputed, in violation

   of the FDCPA.

11.With a disputed item appearing on her credit report, Plaintiff’s FICO score is

   reporting inaccurately such that he is not eligible for conventional mortgage
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   financing or refinancing. Mortgage rates are now at historic lows and

   Plaintiff cannot participate in this market, due to Defendant’s failure to

   remove this dispute notation.

12.In the credit reporting industry, data furnishers, such as the Defendant,

   communicate electronically with the credit bureaus.

13.Defendant had more than ample time to instruct Equifax to flag its collection

   item as Disputed.

14.Defendant’s inaction to have its collection item on Plaintiff’s credit report

   flagged as disputed was either negligent or willful.

15.Plaintiff suffered pecuniary and emotional damages as a result of

   Defendant’s actions. Because Defendant failed or refused to flag its

   collection item as disputed, Plaintiff’s credit score has been improperly

   depressed, making it harder for her to obtain employment, housing and

   credit for her day-to-day needs. Her credit report continues to be damaged

   due to the Defendant’s failure to properly report the associated collection

   item.



                              VIOLATION OF

           THE FAIR DEBT COLLECTION PRACTICES ACT

16.Plaintiff reincorporates the preceding allegations by reference.
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17.At all relevant times, Defendant, in the ordinary course of its business,

   regularly engaged in the practice of collecting debts on behalf of other

   individuals or entities.

18.Plaintiff is a "consumer" for purposes of the FDCPA, and the account at

   issue in this case is a consumer debt.

19.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

   ("FDCPA"), 15 U.S.C. §1692a(6). Defendant's foregoing acts in attempting

   to collect this alleged debt violated the FDCPA at 15 U.S.C. §1692e by

   reporting credit information which is known to be false, including failure to

   communicate that a disputed debt is disputed.

20.Plaintiff has suffered harm and damages at the hands of the Defendant as

   this harm was one that was specifically identified and intended to be

   protected against on behalf of a consumer, such as the Plaintiff, by Congress.

21.Defendant’s failure to flag its collection items on Plaintiff’s consumer credit

   files is humiliating and embarrassing to the Plaintiff as it creates a false

   impression to users of her credit report that he has simply ignored this debt

   when, in fact, he disputes their validity. Again, the Defendant’s failure or

   refusal to flag it as disputed depresses the Plaintiff’s credit score.
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   22.To date, and as a direct and proximate cause of the Defendant’s failure to

      honor its statutory obligations under the FDCPA, the Plaintiff has continued

      to suffer from a degraded credit report and credit score.

   23.Plaintiff has suffered economic, emotional, general, and statutory damages

      as a result of these violations of the FDCPA.

      WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment

against Defendant for actual damages, costs, interest, and attorneys’ fees.



                     DEMAND FOR JUDGMENT RELIEF

   Accordingly, Plaintiff requests that the Court grant her the following relief

against the Defendant:

   a. Actual damages;

   b. Statutory damages;

   c. Punitive damages;

   d. Statutory costs and attorneys’ fees.



                                 JURY DEMAND

      Plaintiff hereby demands a trial by Jury.



DATED: September 14, 2021
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                              Respectfully submitted,


                               By: /s/ Michael B. Halla
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